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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                                      FILF.D
                                                                                              IN OPEN COURT
                            EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division

                                                                                        CLhRK. !J::


 UNITED STATES OF AMERICA                            ) (UNDER SEAL)

        V,                                           ) Criminal No. 1:18cr / //
                                                     )
 JULIAN PAUL ASSANGE,                                ) Count 1: Conspiracy to Commit
                                                     ) Computer Intrusion (18 U.S.C. §§ 371,
        Defendant.                                   ) 1030(a)(1), 1030(a)(2),
                                                     ) 1030(c)(2)(B)(ii))




                           March 2018 Term - at Alexandria. Virginia

                                          INDICTMENT


THE GRAND JURY CHARGES THAT:

                                  GENERAL ALLEGATIONS


At times material to this Indictment:

       1.      Chelsea Manning, formerly known as Bradley Manning, was an intelligence analyst

in the United States Army, who was deployed to Forward Operating Base Hammer in Iraq.

       2.      Manning held a "Top Secret" security clearance, and signed a classified

information nondisclosure agreement, acknowledging that the unauthorized disclosure or retention

or negligent handling of classified information could cause irreparable injury to the United States

or be used to the advantage of a foreign nation.

       3.      Executive Order No. 13526 and its predecessor orders define the classification

levels assigned to classified information. Under the Executive Order, information may be

classified as "Secret" if its unauthorized disclosure reasonably could be expected to cause serious
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damage to the national security. Further, under the Executive Order, classified information can

generally only bedisclosed to those persons who have been granted anappropriate level ofUnited

States government security clearance and possess a need to know the classified information in

connection to their official duties.

        4.      Julian Paul Assange was the founder and leader of the WikiLeaks website. The

WikiLeaks website publicly solicited submissions of classified, censored, and other restricted

information.


        5.      Assange, who did not possess a security clearance or need to know, was not

authorized to receive classified information of the United States.

        6.      Between in or around January 2010 and May 2010, Manning downloaded four,

nearly complete databases from departments and agencies of the United States. These databases

contained approximately 90,000 Afghanistan war-related significant activity reports, 400,000 Iraq

war-related significant activities reports, 800 Guantanamo Bay detainee assessment briefs, and

250,000 U.S. Department of State cables. Many of these records were classified pursuant to

Executive Order No. 13526 or its predecessor orders. Manning provided the records to agents of

WikiLeaks so that WikiLeaks could publicly disclose them on its website. WikiLeaks publicly

released the vast majority of the classifiedrecords on its website in 2010 and 2011.

        7.      On or about March 8, 2010, Assange agreed to assist Manning in cracking a

password stored on United States Department of Defense computers connected to the Secret

Internet Protocol Network, a United States government network used for classified documents and

communications, as designated according to Executive Order No. 13526 or its predecessor orders.

        8.      Manning, who had access to the computers in connection with her duties as an

intelligence analyst, was also using the computers to download classified records to transmit to
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WikiLeaks. Army regulations prohibited Manning from attempting to bypass or circumvent

security mechanisms on Government-provided information systems and from sharing personal

accounts and authenticators, such as passwords.

        9.      The portion of the password Manning gave to Assange to crack was stored as a

"hash value" in a computer file that was accessible only by users with administrative-level

privileges.   Manning did not have administrative-level privileges, and used special software,

namely a Linux operating system, to access the computer file and obtain the portion of the

password provided to Assange.

        10.     Cracking the password would have allowed Manning to log onto the computers

under a usemame that did not belong to her. Such a measure would have made it more difficult

for investigators to identify Manning as the source of disclosures of classified information.

        11.     Prior to the formation of the password-cracking agreement, Manning had already

provided WikiLeaks with hundreds of thousands of classified records that she downloaded from

departments and agencies of the United States, including the Afghanistan war-related significant

activity reports and Iraq war-related significant activities reports.

        12.     At the time he entered into this agreement, Assange knew that Manning was

providing WikiLeaks with classified records containing national defense information ofthe United

States. Assange was knowingly receiving such classified records from Manning for the purpose

ofpublicly disclosing them on the WikiLeaks website.

        13.     For example, on March 7, 2010, Manning and Assange discussed the value of the

Guantanamo Bay detainee assessment briefs, and on March 8,2010, before entering the password

cracking-agreement. Manning told Assange that she was "throwing everything [she had] on JTF

GTMO at [Assange] now." Manning also said "after this upload, that's all I really have got left."
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To which Assange replied, "curious eyes never run dry in my experience." Following this,

between March 28,2010, and April 9,2010, Manning used a United States Department of Defense

computer to download the U.S. Department of State cables that WikiLeaks later released publicly.

                                           COUNT ONE


        14.    The general allegations set forth in paragraphs 1 through 13 are re-alleged and

incorporated into this Count as though fully set forth herein.

        15.    Beginning on or about March 2, 2010, and continuing thereafter until on or about

March 10, 2010, the exact date being unknown to the Grand Jury, both dates being approximate

and inclusive, in an offense begun and committed outside ofthe jurisdiction of any particular State

or district of the United States, the defendant, JULIAN PAUL ASSANGE, who will be first

brought to the Eastern District of Virginia, did knowingly and intentionally combine, conspire,

confederate and agree with other co-conspirators known and unknown to the Grand Jury to commit

an offense against the United States, to wit:

(A)    to knowingly access a computer, without authorization and exceeding authorized access,

       to obtain information that has been determined by the United States Government pursuant

       to an Executive order and statute to require protection against unauthorized disclosure for

       reasons of national defense and foreign relations, namely, documents relating to the

       national defense classified up to the "Secret" level, with reason to believe that such

       information so obtained could be used to the injury of the United States and the

       advantage of any foreign nation, and to willfully communicate, deliver, transmit, and

       cause to be communicated, delivered, or transmitted the same, to any person not entitled

       to receive it, and willfully retain the same and fail to deliver it to the officer or employee

       entitled to receive it; and
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(B)    to intentionally access a computer, without authorization and exceeding authorized

       access, to obtain information from a department and agency of the United States in

       furtherance of a criminal act in violation ofthe laws of the United States, that is, a

       violation of Title 18, United States Code, Sections 641, 793(c), and 793(e).

       (In violation of Title 18, United States Code, Sections 371,1030(a)(1), 1030(a)(2),
1030(c)(2)(B)(ii).)

                      PURPOSE AND OBJECT OF THE CONSPIRACY


       16.     The primary purpose of the conspiracy was to facilitate Manning's acquisition and

transmission of classified information related to the national defense of the United States so that

WikiLeaks could publicly disseminate the information on its website.

                      MANNERS AND MEANS OF THE CONSPIRACY


       17.     Assange and his co-conspirators used the following ways, manners and means,

among others, to carry out this purpose:

       18.     It was part of the conspiracy that Assange and Manning used the "Jabber" online

chat service to collaborate on the acquisition and dissemination of the classified records, and to

enter into the agreement to crack the password stored on United States Department of Defense

computers cormectedto the Secret Internet Protocol Network.

       19.     It was part of the conspiracy that Assange and Manning took measures to conceal

Maiming as the source ofthe disclosure of classified records to WikiLeaks, including by removing

usemames from the disclosed information and deleting chat logs between Assange and Manning.

       20.     It was part of the conspiracy that Assange encouraged Manning to provide

information and records from departments and agencies of the United States.
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       21.     It was part of the conspiracythat Assange and Manning used a special folder on a

cloud drop box of WikiLeaks to transmit classified records contaiiiing information related to the

national defense of the United States.

                      ACTS IN FURTHERANCE OF THE CONSPIRACY


       22.     In order to further the goals and purposes ofthe conspiracy, Assange and his co-

conspirators committed overt acts, including, but not limited to, the following:

       23.     On or about March 2, 2010, Manning copied a Linux operating system to a CD, to

allowMamiing to accessa United States Department ofDefense computerfile that was

accessibleonly to users with administrative-level privileges.

       24.     On or about March 8, 2010, Manning provided Assange with part of a password

stored on United States Department of Defense computers connected to the Secret Internet

Protocol Network.

       25.     On or about March 10, 2010, Assange requested more information from Manning

relatedto the password. Assange indicated that he had been tryingto crackthe password by

stating that he had "no luck so far."

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DATE                                             FOREPERSON


       Tracy Doherty-McCormick
       Acting United States Attorney


By:.




       Thomas W. Traxler
       Assistant United States Attorneys
